Case 9:23-cr-80101-AMC Document 116 Entered on FLSD Docket 08/11/2023 Page 1 of 2

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                              W EST PA LM BEA CH DIV ISIO N

                            CASE NO.23-80101-CR-CANNON(s)

  UN ITED STA TES O F AM ER ICA ,

        Plaintiff,

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  D O N A LD J.TR U M P,                                           FILED BY G ke
                                                                            -               D.C .
  W A LTINE N A UTA ,and
  CAR I,O S D E O LIVEIM ,                                              Atlc 1 1 2222
        D efendants.                                                    ANGELA E.NOBLE
                                                                       cLERK U.S.DISX C'E
                                      /                                s,D.OF FLA.-W.RB.


   SUPPLEM EN TA L REPO R T IN R ESPO N SE T O TH E C OU R T 'S SEA LE D O RD ER O N
                                  AU G UST 7.2023

        Earliertoday,theGovernm entfiled undersealaReportin Responseto theCourt'sSealed

  Orderon August7,2023. A fterthe G overnm enthad transm itted thatReportforfiling underseal,

  theGovernm entreceivedfrom theUnited StatesDistrictCoul'
                                                         tfortheDistrictofColumbiaacopy

  ofthedocketsheetin sealed matter23-:-38. TheDistrictofColtlmbia Courtdirected thatthe
  docketsheetforthatm atterbe provided to thisCotut and the Governmentaûachesithereto as

  ExhibitA .



                                           Respectfully subm itted,

                                           JA CK SM ITH
                                           SpecialCounsel
                                           N .Y .B arN o.2678084
Case 9:23-cr-80101-AMC Document 116 Entered on FLSD Docket 08/11/2023 Page 2 of 2




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    A ugust 11,2023

                                 CER TIFICA TE O F SERV ICE

          1hereby certify thaton A ugust 11,2023,lcaused the foregoing docum entto be filed w ith
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h eClerkoftheCourtbyhanddelivery.1alsocertifythattheforegoingdocumentisbeing
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    served thisday on allcounselofrecord viaem ail.
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                                              /s/Davidp:Harbach,zz
l                                             DavidV .Harbach,11
